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 2
     Sacramento, CA 95814
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     Mike.Long.Law@msn.com
 4
     Attorney for CHARLES GOODMAN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                 ) No. 2:17-cr-0023 TLN
 8
                     Plaintiff,                    )
 9                                                 ) STIPULATION AND ORDER
            v.                                     ) FOR A NEW SENTENCING DATE
10                                                 ) FOR Mr. GOODMAN OF
                                                   ) MAY 16, 2019
11
     CHARLES GOODMAN,                              )
12
                                                   )
                     Defendant.                    ) Judge: Hon. Troy L. Nunley
13   ================================)
14          Defendant Charles Goodman is requesting a continuance of his sentencing hearing, which is
15   presently set for March 14, 2019, to a new date of May 16, 2019. Mr. Long is continuing to gather
16   information to be used in the sentencing hearing. Additionally, will be in the People v. Reyna jury
17   trial in Department 12 of the Sacramento County Superior Court (Judge Gilliard) through the end of
18   March, 2019, followed by the jury trial of US v. Rodriguez in Judge Mendez’s court for several
19   weeks commending on April 15, 2019. AUSA Jason Hitt, on behalf of the United States Attorney’s
20   Office, and USPO Lynda Moore, on behalf of the United States Probation Office, have no objection
21   to the requested continuance.
22   Dated: March 8, 2019                                  Respectfully submitted,
23
                                                           /s/ Michael D. Long
24                                                         MICHAEL D. LONG
                                                           Attorney for Charles Goodman
25

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     ///
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     ///
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 1   Dated: March 8, 2019                                  McGREGOR SCOTT
                                                           United States Attorney
 2

 3                                                         /s/ Jason Hitt
                                                           JASON HITT
 4                                                         Assistant U.S. Attorney
 5
                                                ORDER
 6
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 7
            The Court hereby orders that the schedule for Mr. Goodman’s sentencing shall be heard
 8
     on the new date of May 16, 2019, at 9:30 a.m.
 9

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11   Dated: March 8, 2019
12                                                          Troy L. Nunley
                                                            United States District Judge
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